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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

NETLIST, INC.                                §
                                             §
v.                                           §
                                             §   Case No. 2:22-cv-00293-JRG
SAMSUNG ELECTRONICS CO., LTD.,               §
SAMSUNG ELECTRONICS AMERICA,                 §
INC., SAMSUNG SEMICONDUCTOR,                 §
INC.                                         §


               MINUTES FOR PRETRIAL CONFERENCE – Day 1
           HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                               October 8, 2024

OPEN: 09:02 AM                                                         ADJOURN: 05:04 PM


ATTORNEYS FOR PLAINTIFF:                         See attached

ATTORNEYS FOR DEFENDANTS:                        See attached.

LAW CLERKS:                                      Brendan McLaughlin
                                                 Amy Wann
                                                 Danielle Zapata

COURT REPORTER:                                  Shawn McRoberts, RMR, CRR

COURTROOM DEPUTY:                                Andrea Brunson, CP

  TIME                                       MINUTE ENTRY
09:02 AM   Court opened.
09:03 AM   Court called for announcements from counsel.
09:04 AM   Court provided instructions and housekeeping matters to the parties. Case is specially
           set for jury selection and trial to begin Tuesday, November 12, 2024. Trial will begin
           following empanelment of jury. Eight jurors will be selected. Peremptory strikes: Four
           per side. Voir dire: 30 minutes per side. Trial time: 11-1/2 hours per side. Opening
           statements: 30 minutes per side. Closing arguments: 40 minutes per side. Court to be
           notified by 10:00 PM each night of disputes/objections not resolved through meet and
           confer efforts. Three (3) jointly prepared three-ring binders with disputed information
           are to be submitted to the Court by 7:00 AM the following day. The Court will be
           available in chambers by 7:30 AM every morning to take up any housekeeping matters
           or late-arriving disputes. Deposition-clip objections and/or disputes are to be taken up
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  TIME                                         MINUTE ENTRY
           by the Court the day before the day such deposition is to be used. Deposition clips
           should be accompanied by closed-captioning. Court encouraged the parties to utilize
           the meet and confer process during the course of the trial to resolve disputes. It is the
           Court’s intention to bring the jury in every morning at 8:30 AM. Lunch will be brought
           in daily for the jurors. Rule 50(a) motions will be heard by the Court after all the
           evidence is in and Plaintiff rests any rebuttal case. Court will hold an informal charge
           conference (off the record) after the close of evidence. Formal charge conference will
           follow thereafter and on the record. Court reminded counsel not to refer to individuals
           by their first names, and to advise their respective witnesses re: same. Court instructed
           counsel to refer to the Court’s Standing Order re: the sealing of the courtroom re:
           confidential or highly sensitive testimony. Court instructed the parties to follow the
           instructions from Deputy Clerk in Charge, Mrs. Kecia Clendening re: receipt, review
           and return of the Juror Questionnaires. Court instructed the parties to refer to the
           Court’s Standing Order re: preadmission of exhibits. Parties to be prepared every
           morning of trial to read into the record those exhibits used prior day. Twelve juror
           notebooks to be delivered to chambers no later than 12:00 PM noon on Friday,
           November 8, 2024. Notebooks to contain: Complete copies of each patent-in-suit
           (Court to allow double-sided copies for this case); claim construction chart (single-
           sided); page for each witness with a current head and shoulder photograph, name and
           ruled lines for notetaking; three-hole punch notepad for further notes and a non-clicking
           pen. Each witness page should be tabbed for easy navigation. Expert report notebooks
           to be delivered to Chambers no later than 12:00 PM noon on Friday, November 8, 2024
           containing printed copies of each updated expert report (single-sided) (without
           exhibits). Also, a digital copy be furnished to Court staff.
09:21 AM   Court addressed disagreements re: Joint Pretrial Order, made rulings and provided
           instruction as set forth in the record.
09:33 AM   Court began by making the following rulings:
09:34 AM   MOOT:
               • [SEALED] Plaintiff’s Proffer Regarding Standard Essentiality (Dkt. No. 776).
               • [SEALED] Plaintiff’s Motion for Summary Judgment That the Asserted Patents
                   Are Not Standard Essential (Samsung Case No. 2:22-cv-293) (Dkt. No. 356).
               • [SEALED] Samsung’s Motion to Preclude Evidence Regarding the Alleged
                   Essentiality of the Asserted Patents (Dkt. No. 374).
09:41 AM   DENIED:
                • [SEALED] Samsung’s Corrected Motion to Bifurcate Liability Issues From
                    License Defense, Damages and Willfulness Issues (Dkt. No. 383).
09:42 AM   Court proceeded with hearing argument re: the following disputed dispositive motions:
09:42 AM   [SEALED] Samsung’s Motion for Summary Judgment of No Pre-Suit Damages (Dkt.
           No. 338).
09:42 AM   Ms. Degnan presented argument for Defendants.
09:57 AM   Responsive argument by Mr. Sheasby for Plaintiff.
10:09 AM   Rebuttal argument by Ms. Degnan for Defendants.
10:14 AM   Additional responsive argument provided by Mr. Sheasby for Plaintiff.
10:19 AM   Recess.
10:30 AM   Court reconvened.


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  TIME                                       MINUTE ENTRY
10:30 AM   Court made rulings as set forth in the record re: Dkt. No. 338.
10:32 AM   Court heard argument re:
               • [SEALED] Samsung’s Motion for Summary Judgment of No Willfulness (Dkt.
                   No. 341).
10:32 AM   Ms. Degnan presented argument for Defendants.
10:48 AM   Responsive argument by Mr. Sheasby for Plaintiff.
11:02 AM   Rebuttal argument by Ms. Degnan for Defendants.
11:07 AM   Court made rulings as set forth in the record re: Dkt. No. 341.
11:09 AM   Court heard argument re:
               • [SEALED] Samsung’s Motion for Partial Summary Judgment of
                   Noninfringement Concerning the ‘912 Patent (Dkt. No. 353).
11:09 AM   Mr. Dryer presented argument for Defendants.
11:43 AM   Recess for lunch.
12:40 PM   Court reconvened.
12:41 PM   Responsive argument by Mr. Rowles for Plaintiff.
12:58 PM   Rebuttal argument by Mr. Dryer for Defendants.
01:02 PM   Court DENIED Dkt. No. 353.
01:03 PM   Court heard argument re:
               • [SEALED] Netlist, Inc.’s Motion for Partial Summary Judgment on Samsung’s
                   Invalidity Defenses (Dkt. No. 343).
01:04 PM   Mr. Tezyan presented argument for Plaintiff.
01:09 PM   Responsive argument by Dr. Albert for Defendants.
01:17 PM   Rebuttal argument by Mr. Tezyan for Plaintiff.
01:18 PM   Court GRANTED Dkt. No. 343.
01:22 PM   Court to CARRY:
               • [SEALED] Netlist, Inc.’s Motion for Summary Judgment Dismissing
                   Samsung’s Affirmative Defense of Laches, Estoppel and/or Waiver (Dkt. No.
                   342).
01:23 PM   Court heard argument re:
               • [SEALED] Samsung’s Daubert Motion and Motion to Strike Expert Testimony
                   of Dr. William Henry Mangione-Smith (Dkt. No. 350).
01:23 PM   Dr. Albert presented argument for Defendants.
02:13 PM   Responsive argument by Mr. Rowles for Plaintiff.
02:40 PM   Rebuttal argument by Dr. Albert for Defendants.
02:41 PM   Court made rulings as set forth in the record re: Dkt. No. 350.
02:51 PM   Recess.
03:05 PM   Court reconvened.
03:05 PM   Court heard argument re:
               • [SEALED] Plaintiff’s Motion to Strike Certain Opinions of Samsung
                   Defendants’ Expert Mr. Joseph McAlexander (Dkt. No. 359).
03:05 PM   Mr. Sheasby presented argument for Plaintiff.
03:30 PM   Responsive argument by Dr. Albert for Defendants.
04:08 PM   Rebuttal argument by Mr. Sheasby for Plaintiff.
04:14 PM   Court made rulings as set forth in the record re: Dkt. No. 359.


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  TIME                                    MINUTE ENTRY
04:28 PM   Court heard argument re:
               • [SEALED] Plaintiff’s Motion to Strike Certain Opinions of Defendants’ Expert
                   John B. Halbert (Dkt. No. 358).
04:29 PM   Mr. Tezyan presented argument for Plaintiff.
04:39 PM   Responsive argument by Mr. Cordell for Defendants.
04:50 PM   Rebuttal argument by Mr. Tezyan for Plaintiff.
04:52 PM   Court made rulings as set forth in the record re: Dkt. No. 358.
05:03 PM   Court to recess for the day and continue pretrial conference at 9:00 AM tomorrow.
05:04 PM   Court adjourned.




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